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                          UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
______________________________________
                                          :
Zarina Champagne,                         :
                                          :
                                          :  Civil Action No.: 8:18-cv-01629-CEH-CPT
                     Plaintiff,           :
       v.                                 :
                                          :                                                        (
Progressive Finance Holdings, LLC,        :
                                          :                                                        (
                     Defendant.           :                                                        D
______________________________________                                                             R
                                                                                                   H

                               STIPULATION OF DISMISSAL

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety without prejudice and without costs to any party.

 Zarina Champagne                              Progressive Finance Holdings, LLC

 ___/s/ Matthew Fornaro__________              _/s/ Jenny Nicole Perkins ________
 Matthew Fornaro, Esq.
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 Attorney for Plaintiff

_____________________________
SO ORDERED
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                               CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2019, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the Middle
District of Florida Electronic Document Filing System (ECF) and that the document is available
on the ECF system.

                                            By_/s/ Matthew Fornaro_________

                                                   Matthew Fornaro




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